            Case 1:12-cv-00229-FMA Document 19 Filed 07/26/13 Page 1 of 2




      In The United States Court of Federal Claims
                                           No. 12-229C

                                      (Filed: July 26, 2013)
                                           __________

 SOTO CONSTRUCTION COMPANY,
 INC.,

                        Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant.
                                           __________

                                            ORDER
                                           __________

        On July 25, 2013, defendant filed a motion to amend the court’s May 16, 2013, discovery
scheduling order. Plaintiff has indicated that it does not oppose defendant’s motion. The motion
is hereby GRANTED. Accordingly, the court amends its May 16, 2013, order as follows:

       1.       On or before July 31, 2013, fact discovery shall be completed, except:

                (a)    On or before August 12, 2013, defendant shall serve its responses
                       to plaintiff’s requests for admission and interrogatories; and

                (b)    On or before August 30, 2013, the parties shall complete the
                       depositions of Ms. Sam Jarrett and Mr. Randy McDaniel;

       2.       On or before August 30, 2013, defendant shall submit to plaintiff its expert
                report;

       3.       On or before September 30, 2013, plaintiff shall submit to defendant its
                expert rebuttal report;

       4.       On or before October 18, 2013, expert discovery shall be completed; and
     Case 1:12-cv-00229-FMA Document 19 Filed 07/26/13 Page 2 of 2



5.       On or before October 25, 2013, the parties shall file a joint status report
         indicating how this case should proceed, with a proposed schedule, as
         appropriate.

IT IS SO ORDERED.




                                                s/ Francis M. Allegra
                                                Francis M. Allegra
                                                Judge




                                          -2-
